






			

								



	





NUMBER 13-09-00125-CR  



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


THE STATE OF TEXAS,							Appellant,


v.



SONIA GARZA,								         Appellee.

                                                                                                                       


On appeal from the County Court at Law No. 2 

of Nueces County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Justices Rodriguez, Garza, and Benavides 


Memorandum Opinion by Justice Rodriguez



	The State of Texas appeals from the trial court's order granting appellee Sonia
Garza's motion for new trial.  See Tex. Code Crim. Proc. Ann. § 44.01(a)(3) (Vernon
Supp. 2009) (allowing the State to appeal granting of new trial).  By three issues, the State
argues that:  (1) the trial court had no jurisdiction to hear or grant the motion for new trial
because Garza had been placed on deferred adjudication; (2) the facts of the case do not
support a motion to withdraw a guilty plea (1); and (3) if the trial court did have jurisdiction to
hear the motion for new trial, the court abused its discretion in granting the motion because
the evidence showed Garza's plea was voluntary, knowing, and intelligent.  We reverse
and remand.I.  Background (2)

	Garza was charged by information with the offense of assault in connection with an
alleged altercation outside a nightclub in Corpus Christi.  Garza entered into a plea
agreement with the State for deferred adjudication.  On January 8, 2009, the order
deferring adjudication of guilt and placing Garza on community supervision was signed by
the parties and approved by the trial court.  On January 30, 2008, Garza filed a motion for
new trial, alleging that "she was under extreme stress at the time of trial and did not fully
understand the repercussions of her plea at the time."  In her motion, Garza further alleged
that her plea was not voluntary and that, since the time of her plea, she had "discovered
additional evidence which may prove her innocence."  On March 3, 2009, the trial court
held a hearing on the motion for new trial, which it granted.  The State appeals the trial
court's order granting Garza's motion for new trial. (3)

II.  Motion for New Trial and Deferred Adjudication

	Rule 21 of the rules of appellate procedure governs a defendant's motion for new
trial in a criminal case.  See Tex. R. App. P. 21.1.  A "new trial" in a criminal case is the
"rehearing of a criminal action after the trial court has, on the defendant's motion, set aside
a finding or verdict of guilt."  Id.  

	Article 42.12 of the code of criminal procedure provides that 

	when in the judge's opinion the best interest of society and the defendant will
be served, the judge may, after receiving a plea of guilty or plea of nolo
contendre, hearing the evidence, and finding that it substantiates the
defendant's guilt, defer further proceedings without entering an adjudication
of guilt, and place the defendant on community supervision. 

 

Tex. Code Crim. Proc. Ann. art. 42.12, § 5(a) (Vernon Supp. 2009) (emphasis added). 
In other words, in a deferred adjudication proceeding, there is no "finding or verdict of
guilt."  See Donovan v. State, 68 S.W.3d 633, 636 (Tex. Crim. App. 2002); Hammack v.
State, 963 S.W.2d 199, 200 (Tex. App.-Austin 1998, no pet.).  Accordingly, "there is
nothing to set aside so as to create an occasion for implementation of Rule 21."  Donovan,
68 S.W.3d at 636; see Labib v. State, 239 S.W.3d 322, 329-30 (Tex. App.-Houston [1st
Dist.] 2007, no pet.).  A trial court is therefore without authority to rule on a motion for new
trial when a defendant's adjudication has been deferred.  See Donovan, 68 S.W.3d at 638;
see also Gomez v. State, No. 05-02-00153-CR, 2003 WL 21468756, at *1 (Tex.
App.-Dallas 2003, no pet.) (mem. op., not designated for publication) (holding that
"because the trial court deferred adjudication of [the defendant]'s guilt, it lacked jurisdiction
to consider a motion for new trial").  If a trial court grants a motion for new trial in this
situation, that action is a nullity.  State v. Ellis, 976 S.W.2d 789, 791 (Tex. App.-Houston
[1st Dist.] 1998, no pet.).    

III.  Discussion

	Here, Garza entered an agreement with the State to plead guilty in exchange for
deferred adjudication.  Pursuant to that agreement, the trial court entered an order
deferring adjudication of guilt and placing Garza on community supervision.  Less than a
month after entry of that order, Garza filed a motion for new trial, which was granted by the
trial court.  

	Because adjudication was deferred by the trial court, Garza was never convicted of
the charged offense.  See Tex. Code Crim. Proc. Ann. art. 42.12, § 5(a); Hammack, 963
S.W.2d at 200.  Absent a finding or verdict of guilt, there was nothing for the trial court to
set aside, and rule 21 does not apply.  See Donovan, 68 S.W.3d at 636.  The trial court
was, therefore, without authority to hear Garza's motion for new trial, and its action in
granting the motion was a nullity.  See Ellis, 976 S.W.2d at 791.  The State's first issue is
sustained. (4) 

IV.  Conclusion

	We reverse the order of the trial court granting Garza's motion for new trial and
remand for further proceedings consistent with this opinion.  Moreover, having disposed
of the State's appeal, we lift the stay of proceedings in the trial court granted by this Court
on March 10, 2009.  See Tex. Code Crim. Proc. Ann. art. 44.01(e) (Vernon Supp. 2009).

					

																		NELDA V. RODRIGUEZ

							Justice


Do not publish.				

Tex. R. App. P. 47.2(b).


Delivered and filed the 4th

day of March, 2010.
1. Although the State argues that the facts do not support a motion to withdraw a guilty plea, we note
that Garza filed no such motion.
2. Because this is a memorandum opinion and the parties are familiar with the facts, we will not recite
them here except as necessary to advise the parties of the Court's decision and the basic reasons for it.  See
Tex. R. App. P. 47.4.  Moreover, Sonia Garza filed no appellee's brief to assist us in the resolution of this case. 
Accordingly, we decide this appeal based on the brief filed by the State and the record before us.
3. On March 10, 2009, we granted the State's motion for stay of proceedings in the trial court.  See Tex.
Code Crim. Proc. Ann. art. 44.01(e) (Vernon Supp. 2009).
4. Having concluded that the trial court lacked authority to hear Garza's motion for new trial, we need
not address the State's remaining issues on appeal.  See Tex. R. App. P. 47.1.


